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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

MIAMI DIVISION
In re: . Case No.: 18-13386-RAM
Rafael Angel Gonzalez Mendoza and Chapter 7
Carmen Cecilia Balguer Peral,
Debtors. /

 

DEBTOR’S RESPONSE TO TRUSTEE’S OBJECTION TO DEBTORS’ SCHEDULED
VALUATION AND CLAIMED EXEMPTION OF SCHEDULED PROPERTY

COME NOW the Debtors, Rafael Angel Gonzalez Mendoza and Carmen Cecilia
Balguer Peral, by and through their undersigned counsel and respond to the Trustee’s Objection
to Debtors’ Scheduled Valuation and Claimed Exemption of Scheduled Property (the
“Objection”), [Doc. No. 53] as follows:

1. The Debtors filed the instant case on March 23, 2018 (the “Petition Date”) [Doc. No. 1].

2. On the Petition Date, the Debtors’ Schedule A/B listed two (2) bank accounts with Bank
of America, ending in #5758 and #5627 valued at $1,526.38 and $2,614.97 respectively.
The Debtors’ Schedule C claimed these accounts, and certain assets listed in Schedule
A/B, as exempt under the Federal Exemptions [Doc. No. 1].

3. The 341 Meeting of Creditors was held and concluded on May 2, 2018.

4. Prior to the 341 Meeting of Creditors a copy of the Debtors’ 2017 tax return and other
documentation required by the Trustee, including bank statements, were sent
electronically to the Trustee’s office.

5. A week after the 341 Meeting the Debtor provided to the Trustee the key to the storage
unit where the former assets of the Debtor’s defunct corporation were located along with

the documentation regarding the closed business.
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6. The Debtors have provided a plethora of documentation to the Trustee and have attended
a lengthy 2004 Examination. In short, the Debtors have cooperated completely and fully
with the Trustee and have done their utmost to be forthcoming with regard to their assets
and liabilities.

7. The Debtors have amended their Schedules A/B on two (2) occasions. However, the
Debtors have never amended their Schedule C to remove the Federal Exemptions as they
firmly believe and maintain they are only entitled to utilize said Exemptions.

8. The Debtors are Venezuelan citizens who entered this country on a B-1/B-2 Visa (the
“Visitor Visa”) on March 23, 2012. The Debtors’ Visitor Visa denotes an issuance of
March 23, 2012 and an expiration date of March 21, 2022. A copy of said Visitor Visa is
attached hereto and incorporated herein.

9. The Debtors applied for political asylum (the Application) in late 2012 or early 2013,
claiming a credible fear of persecution were they to return to their native country,
Venezuela. As of the Petition Date, the Debtors’ Application was still pending.

10. Since the Debtors’ Application was pending on the Petition Date they are neither United
States citizens nor permanent residents of the United States and as such cannot legally be
permanent residents of Florida making their use of the Federal Exemptions proper.

11. On August 29, 2018 the Trustee filed the Objection to which the Debtor now responds.

THE DEBTORS’ EXEMPTIONS ARE PROPERLY CLAIMED
UNDER 11 U.S.C. §522(d)

1. Aliens Residing in the United States Pending an Application for Political Asylum
Cannot Satisfy Florida’s Permanency Requirements nor Qualify to Claim
Florida Exemptions

The Trustee has objected to the Debtors’ claimed exemptions on the grounds that she

believes the Debtors to be Florida residents, despite their immigration status, and as such not
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entitled to the Federal Exemptions and cites the cases of Bloomfield v. City of St. Petersburg
Beach, 82 So.2d 364, 368 (Fla. 1955), Lisboa v. Dade County Property Apprasier, 705 So.2d
704 (Fla. 3rd DCA 1998) and Jn re Fodor, 339 B.R. 519, 523 (Bankr. M.D. Fla. 2006) to support
her position. However, the Debtors’ immigration status is relevant to determine the Debtors
eligibility for the claimed exemptions. The Debtors are Venezuelan citizens, in the United States
on a B-1/B-2 Visa, on the Petition Date. A “visitor” visa is a nonimmigrant visa and generally is
used to enter the United States temporarily for business (B-1), for pleasure or medical treatment
(B-2), or a combination of these purposes (B-1/B-2).' Initially, when the Debtors began to travel
to the United States it was their plan to start a business in the United States. In fact, the Debtors
did just that. However, in late 2012 and/or early 2013 a capture order was entered against the
Debtor, in his home country of Venezuela. In fear of said persecution the Debtor became
concerned that he would be harmed if he continued to return to and reside in Venezuela and as
such filed his Application for political asylum, which was pending approval and/or denial on the
Petition Date.

Pursuant to the case of Jn re Levy, which concemed a debtor that was in the United States
under an H-1B Visa, which allows the debtor to remain in the United States on a temporary basis
for purposes of employment and classifies said debtor as a nonimmigrant, “...[a] Debtor may not
use any state exemptions afforded by Florida law because at all relevant time periods the Debtor
resided in the United States pursuant to a temporary visa. This fact prevents the Debtor from
establishing domicile within the state which in turn precludes the Debtor from availing himself
of the state exemptions.” In deciding that the debtor in Levy was not entitled to claim Florida

exemptions Judge Mixon reasoned

 

' U.S. Visas U.S. Department of State — Bureau of Consular Affairs — Visitor Visas
? Inre Levy, 221 B.R. 559, 567 (Bankr. S.D. Fla., 1998)
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Thus, under section 522(b)(2)(A) and (B), the state law that determines the state
exemption to which a debtor may be entitled is the law of the debtor’s domicile
for the 180 days immediately preceding the filing of the petition .. . Here,
“domicile” means actual residence with a present intention to remain there.
Morris v. Gilmer, 129 U.S. 315, 328-329, 9 S.Ct.289, 293, 32 L.Ed. 690 (1889); 4
Collier on Bankruptcy § 522.06 (Lawrence P. King, et al. eds., 15" ed. Rev.1997).
Non-immigrant aliens in the United States on temporary rather than permanent
visas are incapable of formulating the requisite intent to establish a permanent
residence. Cooke v. Uransky (In re Cooke), 683 F.2d 130, 131 5" Cir. 1982); In
re Boone, 134 B.R. 979 (Bankr. M.D. Fla. 1991); In re Gilman, 68 B.R. 374, 375
(Bankr. S.D. Fla. 1986); Cooke V. Uransky (In re Cooke), 412 So.2d 340, 342
(Fla.1982). Without the requisite intent, no domicile exists. Under section 522(b),
the lack of a domicile in any state within the 180-day period immediately
preceding the filing of the petition is fatal to any right of exemption under the
laws of the state. In re Liberman, 44 F.2d 661, 662 (S.D.Ala. 1930). “Hence, one
who has domicile in a foreign country during the entire 180-day period cannot
claim any exemption under state law . . .” 4 Collier on Bankruptcy 4 522.06
(Lawrence P. King, et al. Eds., 15" ed. Rev. 1997).

This Court considered a similar issue in the case of In re Arispe, 289 B.R. 245 (2002),
wherein the debtor was neither a United States citizen nor permanent resident of the United
States and was utilizing the federal exemptions to which the Chapter 13 objected on the basis
that the debtor was a “resident” of Florida and found that “as a matter of law that Florida Statute
§ 222.20 does not apply to non immigrant alien debtors that reside in the state of Florida, but are
not domiciled in Florida when they file their bankruptcy petition. Thus, the Opt-Out Statute does
not prevent them from utilizing the federal exemptions under 11 U.S.C. § 522(b)”* This Court
further noted that ‘“[j]ust because a non-immigrant alien is not domiciled in any state, he should
not be treated as a "naked debtor" without the right to even exempt the clothes on his back.

Congress provided an opportunity for these foreign citizens to seek relief in our bankruptcy

 

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ld.
‘ In re Arispe, 289 B.R. 245, 248 (2002).
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courts. Surely Congress did not intend to deprive them of the right to exempt a portion of their
assets.”°

The Trustee first cites to the case of Bloomfield v. City of St. Petersburg Beach, to
support her position that the Debtors are Florida residents. The Bloomfield case concerned an
elector, who at all relevant times was a citizen of the United States and who moved from
Michigan to Florida and then ran for elected office. The Bloomfield court had to determine
whether the elector was a permanent resident of Florida and as such a qualified elector. As a
citizen of the United States nothing impedes the elector in Bloomfield from formulating the
required intent to move his residence from Michigan to Florida. Under the Trustee’s theory, the
mere act of the Debtors having rented an apartment in Florida, purchasing furniture and
electronics and incorporating a business in Florida establishes their residence in Florida thereby
entitling them to the state exemptions. Under the Trustee’s theory, it would follow that aliens,
who arrived in Florida illegally or are under unenforced deportation orders thereby clearly
having no legal right or ability to remain in the United States and/or Florida, would nevertheless
be permanent residents of Florida by simply renting an apartment in the state. Viewing
“permanent residence” in that manner would purport to entitle the Debtors to all sorts of
erroneous conclusions, such as legally authorizing them to vote in local state elections, despite
their temporary immigration status. A case that more closely resembles that facts in the instant
case, and is also decided by the Supreme Court of Florida, is Juarrero v. McNayr, 157 So.2d 79
(Fla. 1963).

The plaintiffs in Juarrero were described by the Court as “holders of nonimmigrant visas

valid for unlimited applications for admission into the United States...granted permission...to

 

° Id. See also In re Goldsmith, Case No.: 02-14039-AJC, decided on January 23, 2003 (Concerning an identical issue
and following the holding of Arispe).
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stay indefinitely in the country and depart voluntarily. They do not have permanent visas and, in
lay parlance, may be classified as ‘Cuban refugees.’ The visas are not authority under existing
circumstances for them to remain here permanently, that is to say, beyond their immediate need
for political asylum. The uncertainty of this need requires an indefinite stay although the visas
are temporary in character.”* The Juarrero Court then looked to decide “[cJan an alien,
temporarily absent from his homeland because of political persecution, and residing in this
country for an indefinite stay by warrant of a temporary visa, make Florida in good faith his
permanent home?” In answering this question in the negative the Supreme Court of Florida
found that the Juarreros

...cannot legally intend to do that which by law and the temporary nature of their

visas they are prohibited from doing. It is true that a resident of another state in

this country may abandon residence in that state, come to Florida, purchase a

home, reside in it, and declare it to be his permanent residence and become

entitled to the homestead exemption . . .This is not so, however, in the case of a

citizen and former resident of a foreign country who is here under the authority of

nothing more than a temporary visa, because such person has no assurance that he

can continue to reside in good faith for any fixed period of time in this country.

Consequently, we hold he cannot ‘legally,’ ‘rightfully’ or in ‘good faith’ make or

declare an intention which he has no assurance he can fulfill or carry out because

of the temporary nature of the visa. In other words, he does not have the legal

ability to determine for himself his future status and does not have the ability

legally to convert a temporary residence into a permanent home.®

Additionally, once the Debtors’ Application was approved, post-petition, the Debtors
would still not have the right to remain in the United States permanently. The Debtors residency,
as approved asylees, is permitted only so long as the need for asylum continues. As such, neither

the Application nor the grant of asylum, however indefinite in duration, is equivalent to the

actual permission to reside in the United States and by extension Florida indefinitely.

 

° Juarrero v. MeNayr, 157 So.2d 79, 80 (Fla., 1963)
Td.
* Id. at 81.
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The Trustee then cited to the case of In re Fodor, 339 B.R. 519 (Bankr. M.D. Fl. 2006),
wherein Judge Williamson found, “In order to qualify for the Florida homestead exemption, a
debtor must be a permanent resident of the state and intend to make the property in question his
permanent residence. An alien can satisfy this residency requirement only if he has obtained
permanent resident status or a “green card” as of the petition date.”® Neither the Debtors in the
instant case nor the debtor in Fodor had residency status as of the date of the filing of their
respective bankruptcy petitions. Judge Williamson determined, “The dispositive issue before this
Court is whether the Debtor could form the requisite intent to make his home in Clearwater,
Florida, his permanent residence to qualify for Florida’s homestead exemption when the Debtor
did not receive permanent resident status until three months after he filed his bankruptcy
petition.”'° As Judge Williamson pointed out,

Under Federal Rule of Bankruptcy Procedure 4003(c), the objecting party bears
the burden of establishing that the exemption is not properly claimed. ...The first
question in determining the applicability of this provision to the Debtor’s home is
the date, which governs the determination of homestead status. On this question
the law is clear: the claim of exemption is to be determined as of the petition date.
See, e.g., In re Sandoval, 103 F.3d 20, 23 (5" Cir.1997) (holding debtor’s
exemptions to be determined on the date of filing); In re Marcus, 1 F.3d 1050,
1052 (10™ Cir. 1993)(same); In re Ballato, 318 B.R. 205, 209 (Bankr. M.D. Fla.
2004)(same); In re Buick, 237 B.R. 607, 609 (Bankr. W.D. Pa. 1999) (same) ; see
also In re Rivera, 5 B.R. 313, 315 (Bankr. M.D. Fla. 1980)(stating that “the right
to claim exemptions by a Debtor is governed by the facts and governing
circumstances which existed on the date the petition was filed and not by any
changes which may have occurred thereafter”). Consistent with this case law,
section 522(b)(2)(A) of the Bankruptcy Code provides that an individual debtor
may exempt from his bankruptcy estate “any property that is exempt under
Federal law, other than subsection (d) of this section, or State or local law that is
applicable on the date of the filing of the petition.” 11 U.S.C. § 522(b)(2)(A).'!

Judge Williamson next turned to the question of whether the Debtor in Fodor was a

Florida resident as of the petition date by saying, “[a]n alien debtor can only satisfy the

 

° In re Fodor, 339 B.R. 519, 519-520 (Bankr. M.D. Fla. 2006)
'° Id. at 521.
'' Td. (emphasis added in original)
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permanent residency requirement if the debtor is granted a permanent visa. In re Gilman, 68 B.R.
374, 375; Reheb v. DiBattisto, 513 so.2d 717, 718 (Fla. 3d DCA 1987).'? In declining to allow
the Debtor’s exemption the court in distinguishing Lisboa stated,

First, this case does not involve the homestead exemption in the tax context. The

homestead exemption for tax purposes is found in section 196.031(1), Florida

Statutes, .. .[t]he language of this statute relies on subjective “good faith” as

opposed to the objective ability, via permanent resident status, to maintain a

domicile in Florida for purposes of exemption from forced sale. It is possible, for

example, that a person entitled to the tax exemption may not be immune’ for the

claims of creditors. See In re Lee, 223 B.R. 594, 599 n.3 (Bankr.M.D.Fla.1998)

(noting that “the status of property as ‘homestead’ for tax exemption purposes is

not controlling’ in the determination of eligibility of forced sale exemption. . .”"°

It is clear by the holdings in the Bankruptcy cases of Arispe, Levy and Goldsmith and
several other bankruptcy cases as well as the Florida Supreme Court’s holding in Juarrero that
the Debtors have properly claimed their assets as exempt under the Federal Exemptions.

2. PRUCOL Status is not an Immigration Status nor does it Equate to a

Permission to Lawfully Reside in the United States and by Extension

the state of Florida

Lastly, the Trustee asserts that pursuant to Fodor the Debtors have an immigration status
of “permanently residing under the color of law” (“PRUCOL”) and that as such under Florida
law are entitled to Florida exemptions. However, PRUCOL status and “Permanent Residency”
are not synonymous and should not be equated. In fact, the 1 1" Circuit in Smart v. Shalala, 9
F.3d 921 (11th Cir., 1993), held that the immigrant’s contention in Smart that PRUCOL status is
the equivalent of being lawfully admitted for permanent residence was an argument that is

“plainly wrong.”'* PRUCOL is not an immigration status recognized by the United States

Citizenship and Immigration Services (“USCIS”). Instead, PRUCOL “is a criterion for

 

12 Id.
8 Td. at 523 (emphasis added).
'4 Smart v. Shalala, 9 F.3d 921, 923 (11th Cir., 1993).
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determining whether an alien is eligible for benefits under certain public welfare programs, such

as Medicaid and Supplemental Security Income for the Aged, Blind and Disabled.”!° In 1996

the Personal Responsibility and Work Opportunity Reconciliation Act was enacted which

basically abolished PRUCOL. Additionally, Florida no longer appears to recognize PRUCOL as

grounds for receiving said welfare benefits.'° As a result, the so-called “permanency” formerly

attributed in PRUCOL cases for the limited purposes of receiving welfare benefits, is not the

same as the legal permission received from USCIS to remain in the United States and by

extension Florida. As such, the Debtors in the instant case cannot claim Florida exemptions.

VALUATION

The Debtors scheduled the following assets as of the Petition Date:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Specific Laws
Secured Claimed that allow Exemptions
Schedule | Line Description Scheduled Value Claim Exemption
B 3.1 2016 Honda Odyssey $33,845.28 $32,434.36 | $1,410.92 11 U.S.C. § 522(d)(2)
B 3.2 2015 Jeep Grand $22,181.86 | $21,466.61 | $715.25 | 1 USC. § 5222)
Cherokee
B 6 | HHG -B-6 Attachment $2,000.00 $0.00 $2,000.00 11 U.S.C. § 522(d)(3)
Electronics - B-7 . 11 U.S.C. § 522(d)(3)
B 7 Attachment $500.00 $500.00
B 11 Clothes $100.00 -- $100.00 11 U.S.C. § 522(d)(3)
Jewelry - B-12 _ 11 U.S.C. § 522(d)(4)
B 12 Attachment $300.00 $300.00
B 16 Cash $10.00 -- $10.00 11 U.S.C. § 522(d)(5)
B 17.1 BoA Checking *5758 $1,526.38 -- $1,526.38 11 U.S.C. § 522(d)(5)
B 17.2 BoA Savings *5627 $2,614.97 ~ $2,614.97 11 U.S.C. § 522(d)(5)
B 19 Prestige Solar, Inc. $0.00 -- $0.00
Former Assets of
B 40 Prestige Solar, Inc. $10,000.00 ~ $0.00
TOTAL $73,078.49 | $53,900.97 | $9,177.52 $0.00

 

 

 

 

 

 

 

 

'° Td (citing 42 U.S.C. 1382c(a)(1)(B)(i), 20 C.F.R. 416.1618; 42 C.F.R. 435.408(a); See also Carton, S., The
PRUCOL Proviso in Public Benefits Law: Alien Eligibility for Public Benefits, 14 Nova L.R. 1033, 1035-6 (Sp.
1990)“PRUCOL...is not a category of immigration status, but rather a category for public benefits eligibility...of
shifting composition, depending on the specific program in question.).
'® See 414,095(3), Florida Statutes, (providing the eligibility requirements for noncitizens and denoting that asylum
applications must be approved by USCIS for said noncitizens to be eligible to apply for benefits and making no
mention of PRUCOL).

 
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and turned over the keys to their storage unit located in Delray Beach, Florida, which contained
the $10,00.00 of scheduled former assets of Prestige Solar, Inc., to the Trustee the week
following the 341 Meeting of Creditors. Attached hereto and incorporated herein is a copy of the
Debtors’ bank statement for the account ending in # 5758 on the Petition Date, wherein the 2017
tax refund is reflected.

Despite the fact that the liquidation analysis of the Debtors’ case under the Federal
Exemptions is $0.00 and should have resulted in the filing of a Report of No Distribution, on
July 2, 2018 the Trustee issued a Notice of 2004 Examination Duces Tecum (the “Notice”). Part
of the Notice was a request to explain six (6) cash withdrawals. Based on a review of the
Trustee’s 2004 Examination Duces Tecum these withdrawals totaled approximately $3,800.00
from January, 2017 to February, 2018. On or about July 19, 2018, Debtors’ counsel emailed the
Trustee a letter responding to the Notice. In paragraph 25 of the response to the Notice, Debtors’
counsel explained the withdrawals to the Trustee.

On or about July 27, 2018, Debtors’ counsel received another analysis of the assets of the
Debtors’ case (the “Trustee’s Analysis”) which still included the amount of $5,180.00 in cash on
hand and further indicated that this amount was obtained as a result of the withdrawals from the
Debtors’ bank account. As oftentimes happens in a Chapter 7 bankruptcy, the Trustee did not
agree to all of the values provided for the Debtors’ assets. The Trustee has taken the position
that the Debtors’ household goods and electronics are worth $3,250.00 combined rather than
$2,500.00 as reflected in the Debtors’ Schedule A/B. Additionally, the Trustee also increased

the values of the Debtors’ clothing and jewelry by $600.00 for a total of $1,000.00, the Cash on

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Hand to $5,180.00, bank balances to $11,569.00 and provided for the Estate’s potential Pro Rata
interest in the Debtors’ anticipated 2018 tax refund in the amount of $1,200.00.

As the Debtors were claiming Federal Exemptions which exceeded the amount in dispute
with the Trustee and in reliance on the fact that the Trustee was obviously not accepting the
explanations provided for said withdrawals and being advised of cases such as In re Carter, 236
B.R. 173 (Bankr.E.D. Pa., 1999), wherein the court found, “...once the plaintiff has met the
initial burden by introducing sufficient evidence of an unexplained absence of assets, the burden
shifts to the debtor to come forward with a satisfactory explanation.”'’ The debtor then has the
ultimate burden of persuasion.”

The Debtors, knowing they had sufficient exemptions to protect any allegedly
unexplained withdrawals, despite the fact that they had already sufficiently explained same, were
concerned that the Trustee would attempt to attack their discharge for failure to list all of their
assets. As a result, the Debtors decided to amend the schedules to list the allegedly
“unexplained” cash withdrawals as they have nothing to hide. The Schedule A/B was amended
[Doc. No. 37] (the “First Amended Schedules”) to provide for the $5,180.00 in cash denoted by
the Trustee’s Analysis. The Schedules were also amended to provide for $11,569.00 for the
account ending in #5758 and the amount in the account ending in # 5627 was reduced to
$2,515.00 to conform to the Trustee’s Analysis. Bankruptcy Rule 1009 (a)-General Right to

Amend provides, “A voluntary petition, list, schedule, or statement, may be amended by the

debtor as a matter of course at any time before the case is closed.” Rule 1009 allows liberal

 

7 In re Levy, 221 B.R. 559, 561 (Bankr, S.D. Fla. 1998)(citing to First Federated Life Ins. Co. v. Martin (In re
Martin, 598 F.2d883, 887 (7" Cir. 1983) and Jn Carter, 236 B.R. 173 (Bankr.E.D. Pa., 1999) ).

'8 In re Poland, 222 B.R. 374, 379 (Bankr. M.D. Fla. 1998) (citing Chalik v. Moorefield (In re Chalik), 748 F.2d
616, 619 (11" Cir.1984).

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amendment of exemption claims.'? Absent a showing of bad faith, the court may not deny leave
to amend a schedule. Bad faith does not exist . . . [where] there is no evidence of an intent to
hide the asset.”” As shown above, the Debtors have complied with any and all requests made by

the Trustee.

After Debtors’ counsel reviewed the above-mentioned response and refreshed the

recollection of the Debtors, they were more certain that the explanation provided on July 19,

2018 was accurate. Additionally, there was a $2,500.00 withdrawal on the Petition Date from

the Debtors’ bank account and the Debtors realized that they had overstated their assets, because

the cash withdrawn on the Petition Date was already included in the balance listed in the bank

account. Asa result, the Schedules were again amended on August 29, 2018.[Doc. No. 49] (the

“Second Amended Schedules”). The Second Amended Schedules reflect the following:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Specific Laws
Secured Claimed that allow Exemptions
Schedule | Line Description Scheduled Value Claim Exemption
A/B 3.1 2016 Honda Odyssey $33,845.28 $32,434.36 | $1,410.92 11 U.S.C. § 522(d)(2)
AB | 32 2015 Jeep Grand $22,181.86 | $21,466.61 | g7is25 | 11 USC. $522(d)(2)
Cherokee
A/B 6 HHG - B-6 Attachment $2,500.00 $0.00 $2,500.00 11 U.S.C. § 522(d)(3)
Electronics - B-7 11 U.S.C. § 522(d)(3)
A/B 7 ‘Attachment $750.00 - $750.00
A/B 11 Clothes $500.00 -- $500.00 11 U.S.C. § 522(d)(3)
Jewelry - B-12 11 U.S.C. § 522(d)(4)
A/B 12 ‘Attachment $500.00 -- $500.00
A/B 16 Cash $10.00 - $10.00 11 U.S.C. § 522(d)(5)
AIB 17.1 | BoA Checking *5758 $10,927.35 -- $10,927.35 11 U.S.C. § 522(d)(5)
A/B 17.2 BoA Savings *5627 $2,515.00 - $2,515.00 11 U.S.C. § 522(d)(5)
A/B 19 Prestige Solar, Inc. $0.00 -- $0.00
11 U.S.C. § 522(d)(5)
A/B 28 Pro Rata 18 Refund $1,200.00 -- $1,200.00
Former Assets of --
AB | 40 Prestige Solar, Inc. $10,000.00 ~ ~
TOTAL $84,929.49 $53,900.97 | $21,028.52 $0.00

 

 

 

'° Kaelin v. Bassett (In re Kaelin), 308 F. 3d 885, (8" Cir. 2002), reh’g denied, 2002 U.S. App. LEXIS 24721 (s"
Cir. Dec. 3, 2002).
20 Im re Arnold, 252 B.R. 778(B.A.P. 9" Cir, 2000); accord In re Williamson, 804 F.2d 1355, 15 C.B.C.2d 1225 (5"

Cir. 1986).

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As illustrated above, the Debtors’ Schedule A/B, was amended to return the cash on hand to the

initial amount disclosed of $10.00 and correct the balance in the account ending in #5758 to

$10,927.35. This amount includes the Debtors’ 2017 Tax Refund which is fully exempt under

either the Federal Exemptions (Wildcard) or the Earned Income Credit Exemption provided by

the Florida Exemptions.

Debtors’ counsel in an attempt to resolve this matter without the need for further

litigation and costs, also provided the Trustee with a draft of the Debtors’ Amended Schedules

A/B and C, assuming arguendo, that the Debtors’ would be entitled to claim the Florida

exemptions. Analyzing the Debtors’ case under Florida exemptions, utilizing the values offered

by the Trustee for all household goods, electronics, clothing and jewelry, the payoff amounts on

the cars as stated in reaffirmation agreements and the amounts actually contained in the Debtors’

bank accounts, the liquidation is as follows:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Specific Laws
Secured Claimed that allow Exemptions
Schedule \ Line Description Scheduled Value Claim Exemption
Fla. Stat. §222.25(1)
A/B 3.1 2016 Honda Odyssey $33,845.28 $31,144.23 $2,000.00
AIB 3.2 2015 Jeep Grand $22,181.86 $20,695.89 . Fla, Stat. §222.25(1)
Cherokee
$2,000.00 | Fla. Const. art. X §4(a)(2)
A/B 6 HHG - B-6 Attachment $2,500,00 $0.00 $500.00 Fla, Stat, §222.25(4)
Electronics - B-7 Fla, Stat. §222,25(4)
A/B 7 Attachment $750.00 -- $750.00
AIB 11 Clothes _ $500.00 - $500.00 Fla, Stat. §222.25(4)
Jewelry - B-12 Fla. Stat. §222.25(4)
A/B 12 ‘Attachment $500.00 -- $500.00
AB | 16 Cash $10.00 -- $10.00 Fla, Stat. §222.25(4)
$5,740.00 Fla. Stat. §222.25(4)
* __ 3

AIB | 17-1 | BoA Checking *5758 $10,927.35 $5,069.00 | Fla. Stat. §222.25(3)
A/B 17.2 BoA Savings *5627 $2,515.00 -- -- -
A/B 19 Prestige Solar, Inc. $0.00 -- -- -
AB | 28 |  ProRata 18 Refund $1200.00 -- $1,200.00 | Fla Stat. §222.25(3)

 

 

 

 

 

 

 

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Former Assets of --
AB | 40 Prestige Solar, Inc. $10,000.00 - ~

 

 

TOTAL $84,929.49 $51,840.12 | $18,269.00 $4,820.37

 

 

 

 

 

 

 

 

Therefore, even if this Court were to sustain the Trustee’s Objection and instruct the Debtors to
amend Schedule C to claim Florida exemptions, the Estate would be entitled to be paid a total of
$4,820.37, which would result in nothing to be paid to the unsecured creditors, as the Trustee has
incurred fees far in excess of that amount in investigating the instant case.

The court in Jn re Scoggins, 517 B.R. 206 (Bankr. E.D. Ca. 2014), utilizing the Chapter 7
Trustee Handbook provides that a Trustee is not supposed to administer a case which does not
provide a meaningful distribution to Creditors. Specifically,

A chapter 7 case must be administered to maximize and expedite

dividends to creditors. A trustee shall not administer an estate or

an asset in an estate where the proceeds of liquidation will

primarily benefit the trustee or the professionals, or unduly delay

the resolution of the case. The trustee must be guided by this

fundamental principle when acting as trustee. Accordingly, the

trustee must consider whether sufficient funds will be generated to

make a meaningful distribution to unsecured creditors, including

unsecured priority creditors, before administering a case as an asset

case. 28 U.S.C. §586.”"
Therefore, as noted by the Court in Scoggins “it is beyond cavil that a trustee is “primarily”
benefitted when the trustee’s fee exceeds the funds that would be available to pay unsecured
priority and general claims.””* This, in turn, the Scoggins court reasoned “distills to a
proposition that there is a rebuttable presumption that a 330(a)(7) trustee “commission”
exceeding the proposed payout to unsecured priority and general claims “primarily” benefits the

trustee and does not leave enough for a “meaningful” distribution.”

 

*! Im re Scoggins, 517 B.R. 206, 222 (Bankr. E.D, Ca. 2014)(quoting the U.S. Trustee Handbook, ch. 7 page 4-1).
Td. at 223.
23 Id.

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WHEREFORE, for the above reasons the Debtors pray this Honorable Court overrule
the Trustee’s Objection to Exemptions and Deny the Motion for Turnover.
CERTIFICATE OF SERVICE

I hereby certify that a true copy of this Response to Trustee’s Objection to Exemptions was

served on this 7 day Spt. , 2018 to Marcia Dunn, Chapter 7 Trustee, via NEF, all registered

VY ea

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users of ECF via NEF, and the Debtors via first class mail.

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